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-vs- Case No. 2: 05cr20254-02D

 

YOLANDA SMITH A/K/A OSSIE CARTER

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Coult makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

'I`YPE OF APPOINTMENT
- All purposes including trial and appeal

DONE and ORDERED m 167 North Main, Memphis, this g@`fm day of July, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretn`al Services Office

Assistant Federal Public Defender

Intake

YOLANDA SMITH A/K/A OSSIE CARTER

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UNITED STAer DISTRICT COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20254 Was distributed by faX, mail, or direct printing on
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Stephen C Parker
167 N. MAIN, Sth Floor
l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

